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                             UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                      EUGENE DIVISION

LEGACY EMANUEL HOSPITAL &                              Case No. 6:22-cv-01460-MO
HEALTH CENTER d/b/a UNITY CENTER
FOR BEHAVIORAL HEALTH; LEGACY                          SECOND AMENDED COMPLAINT
HEALTH SYSTEM; PEACEHEALTH;                            FOR DECLARATORY AND
PROVIDENCE HEALTH & SERVICES –                         INJUNCTIVE RELIEF
OREGON and ST. CHARLES HEALTH
SYSTEM,

               Plaintiffs,

         vs.

DAVID BADEN, in his official capacity as
Director of Oregon Health Authority,

               Defendant.

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                                        INTRODUCTION

         Under Oregon law, individuals who are dangerous to themselves, dangerous to others, or

unable to take care of their own basic needs due to a mental disorder may be civilly committed to

the Oregon Health Authority for involuntary detention and treatment. Involuntary detention due

to mental illness is “a massive curtailment of liberty.” Humphrey v. Cady, 405 U.S. 504, 509

(1972). The State and Federal Constitutions require that mentally ill persons who are

involuntarily detained receive treatment calculated to lead to the end of their involuntary

detention. Or. Advocacy Ctr. v. Mink, 322 F.3d 1101, 1121 (9th Cir. 2003). It is not acceptable

under the law—let alone basic standards of human dignity and decency—to merely “warehouse”

mentally ill individuals away from the community and not provide them appropriate treatment

during their involuntary detention. Sharp v. Weston, 233 F.3d 1166, 1172 (9th Cir. 2000)

(recognizing that “all too often the promise of treatment has served only to bring an illusion of

benevolence to what is essentially a warehousing operation of social misfits”) (quoting U.S. ex

rel. Stachulak v. Coughlin, 520 F.2d 931, 936 (7th Cir. 1975)).

         Civil commitment is “to the Oregon Health Authority for treatment.”

ORS 426.130(1)(a)(C). However, the Oregon Health Authority (OHA) has failed in its

responsibilities to this vulnerable population. Rather than ensure and provide timely access to

meaningful treatment, OHA is abandoning civilly committed patients and leaving them for

extended periods of time in community hospitals. These community hospitals are not equipped,

staffed, or intended to provide long-term treatment for mental illness. They are equipped to

provide stabilizing treatment to manage the acute symptoms of patients experiencing severe

mental health crises—treatment which involves emergency psychiatric care, highly restrictive

settings, and constant monitoring. Community hospitals are able to stabilize the vast majority of


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civilly committed patients and refer them to other community services that are able to help them

reintegrate. However, there is a subset of individuals for whom longer term, specialized care is

needed. Long-term treatment aims to do more than simply manage the patient’s symptoms—it

aims to address the patient’s mental illness itself with the goal of enabling the patient to recover

from their illness and return to the community. Long-term treatment requires a calmer, less

stressful, less-restrictive environment where patients have more independence, peer support,

socialization, and opportunities to develop life and health skills. Thus, when OHA leaves these

civilly committed patients indefinitely in community hospitals, they do not meaningfully recover

because they are denied access to long-term treatment. This failure to provide the appropriate

level of treatment violates patients’ constitutional rights.

         Individuals in mental health crises come to community hospitals in a variety of ways:

they may present on their own or be brought in by law enforcement, first responders, family,

friends, or others. The emergency department is the typical point of entry. By federal law,

patients who come to an emergency department must be screened for an emergency medical

condition, which includes a psychiatric crisis causing the patient to be dangerous to self or

others. If the patient has an emergency medical condition, the hospital is required to stabilize the

condition before discharge or, if the patient requires care the hospital cannot provide, arrange for

an appropriate transfer to another treatment setting. Some individuals are unable to voluntarily

agree to stabilizing care and are accordingly placed on a “Notice of Mental Illness,” which

begins civil commitment proceedings. Because of the shortage of acute care psychiatric beds in

the state of Oregon, transfer of a patient who is experiencing a psychiatric crisis to another

appropriate treatment setting is almost never an option.




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         Certain patients in psychiatric crisis are briefly detained in hospital emergency

departments or acute care units to allow for an investigation by OHA, through the community

mental health program under the “Notice of Mental Illness,” to determine if there is probable

cause to believe that the person meets civil commitment criteria. If probable cause exists, the

circuit court issues a citation and warrant of detention, and the person is taken “into custody”

until a civil commitment hearing takes place or the person no longer meets detention criteria. At

this point, the person is not just a hospital patient, but also is part of Oregon’s civil commitment

system, which is governed by Oregon Revised Statutes Chapter 426 and Oregon Administrative

Rules Chapter 309, Division 033. By law, a hospital may not simply discharge or refuse to treat a

patient who has been detained pursuant to civil commitment laws. They must be held pursuant to

the authority of the court. See, e.g., ORS 441.053(2); ORS 441.054; OAR 309-033-0250(6);

OAR 333-505-0055, OAR 333-520-0070(4); 42 CFR § 482.43.

         Of the patients who are detained, some remain in emergency departments while others

may be admitted to the limited number of inpatient psychiatric beds that exist in Plaintiffs’

hospitals, and still others may be admitted to acute medical inpatient beds. No matter where they

are located in Plaintiffs’ hospitals, these patients cannot be discharged while they are

psychiatrically unstable, lack a safe discharge plan, and are being detained pursuant to Oregon

law and the authority of the court.

         In several hundred cases annually, detained patients are civilly committed by court order

for up to 180 days of involuntary treatment because they meet the definition of “mentally ill”

under the law, meaning they are dangerous to self or others, or unable to take care of basic needs,

due to a mental disorder. Until their conditions improve and an appropriate discharge plan is

available, they must remain in the hospital or another secure setting pursuant to federal and state


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law and court order. For a significant number of patients, this means they stay in the hospitals

where they started, even when they no longer need to be there, because of OHA’s

unconstitutional failure to provide adequate placements and resources for long-term treatment.

Legally, hospitals cannot simply discharge these patients even though they no longer need the

acute care services that community hospitals are intended to provide. This would remain true

even if the hospitals withdrew their applications for certification to provide acute care services to

civilly committed patients. If this occurred, there would simply be nowhere to send most civilly

committed patients and they would continue to remain in the hospital.

         OHA’s practice also violates the constitutional rights of community hospitals by taking

hospitals’ property with neither due process of law nor just compensation. Instead of meeting its

statutory obligation to provide mental health services and treatment to civilly committed

individuals, the state has inappropriately transferred all of its responsibilities to care for those

individuals to community hospitals. OHA’s failure to make even minimal efforts to locate

appropriate long-term treatment facilities for civilly committed individuals forces community

hospitals to shoulder the obligation. Because hospitals cannot discharge civilly committed

individuals, who desperately need long-term treatment, OHA’s failure to act means that

community hospitals must hold some civilly committed individuals for long periods of time. In

many cases, community hospitals have held civilly committed individuals for weeks, months, or

even the patient’s entire 180-day commitment period (and sometimes additional recommitment

periods). As a result, community hospitals must dedicate significant resources to patients who

have no medical reason to be in emergency or acute care settings. These resources include the

efforts of physicians, nurses, other care providers, and hospital staff as well as costs associated

with medication, housing patients who should be elsewhere, injuries to hospital staff, and


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damage to hospital property. OHA does not adequately compensate and reimburse hospitals for

expending these resources, does not hold payers accountable to provide adequate reimbursement,

and fails to assist in the protection of hospital staff and other patients. Again, due to the shortage

of beds in the state, this would be true even if the hospitals were not certified to provide acute

care services to civilly committed patients.

         In addition to harming civilly committed individuals and community hospitals, OHA’s

actions also negatively impact the community. Oregon is in the middle of an unprecedented

mental health crisis and community hospitals are desperately needed to treat and stabilize other

vulnerable patients experiencing mental health crises, many of whom are also struggling with

substance abuse disorder and houselessness in addition to mental illness. Because the beds of

community hospitals are taken up by civilly committed individuals who should be transferred to

long-term treatment facilities that can provide them with meaningful treatment, other individuals

in acute mental health crises are unable to access care at community hospitals.

         OHA has been keenly aware of this problem for years but has done nothing to fix it.

Instead, OHA has abdicated all responsibility for civilly committed individuals, and done

nothing to increase capacity to ensure these individuals have access to appropriate long-term

placements.

             OHA often defends its actions by pointing to the fact that a federal court order requires it

to accommodate criminal defendants at state hospital facilities who are found guilty except for

insanity or unable to aid and assist in their own defense. Yet OHA has been under these orders

for years and has done little to build capacity in the community to ensure an adequate supply of

secure beds are available for individuals who are civilly committed. To be clear, Plaintiffs

strongly support the rights of criminal defendants with severe mental illness to be moved out of


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jails and provided treatment. But OHA is supposed to serve all three populations of patients. It is

past time for change.

         Community hospitals now bring this lawsuit to remedy OHA’s unlawful practice of

abandoning civilly committed individuals in acute care facilities and failing to even attempt to

provide them with appropriate treatment during their involuntary detention. This practice violates

OHA’s statutory duties and ignores the fundamental rights of civilly committed Oregonians:

access to mental health treatment that gives them “a realistic opportunity to be cured or to

improve [the] mental condition” for which they were confined. Ohlinger v. Watson, 652 F.2d

775, 779 (9th Cir. 1980).

         Plaintiffs do not seek compensatory damages—instead, Plaintiffs seek only declaratory

and injunctive relief, and recovery of their attorneys’ fees for having to pursue litigation to force

OHA to accept its responsibility to provide mental health services to civilly committed

individuals. Plaintiffs seek a declaration that OHA’s practices of forcing community hospitals to

fulfill OHA’s statutory obligations violate the constitutional rights of both civilly committed

individuals and the community hospitals where they are unnecessarily confined. Plaintiffs further

seek an injunction abolishing these practices and requiring OHA to fulfill its statutory

obligations to ensure civilly committed individuals finally receive the care and treatment they are

entitled to by law.

                                 JURISDICTION AND VENUE

         1.      This action is brought pursuant to 42 U.S.C. § 1983, 42 U.S.C. § 12132, and 28

U.S.C. § 2201.




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         2.    This Court has subject matter jurisdiction pursuant to 28 USC § 1331 (federal

question jurisdiction) and 28 USC §1343 (civil rights jurisdiction), and supplemental jurisdiction

over claims based on state law pursuant to 28 USC § 1367.

         3.    Declaratory and additional relief are authorized by 28 U.S.C. §§ 2201 and 2202.

         4.    Venue is proper pursuant to 28 U.S.C. § 1391(b).

                                               PARTIES

         5.    Plaintiffs are not-for-profit corporations licensed to provide hospital and

healthcare services. The community hospitals operated by Plaintiffs all receive patients who are

detained or civilly committed pursuant to Oregon law, as alleged below.

         6.    The community hospitals operated by Plaintiffs are not designed, equipped,

staffed, or intended to provide long-term mental health treatment for civilly committed

individuals. The behavioral health units operated by Plaintiffs are intended to serve the

community as acute care facilities at which patients experiencing acute mental health crises are

evaluated, stabilized, and discharged to the next appropriate level of care. By design, the average

length of stay for most patients in those units is 14 days or less. However, due to the practices

and conduct of OHA, civilly committed individuals commonly remain in the behavioral health

units of community hospitals for much longer periods of time. These units are highly restrictive,

locked environments. Patients are able to leave the units only for short periods of time, if at all,

because of environmental, regulatory, and staffing limitations. This type of confined setting is

not designed to provide the appropriate therapeutic setting for long-term treatment. As a result,

patients left languishing in these environments by OHA do not receive needed care and, in some

cases, decompensate back to unstable conditions. OHA’s failure to provide appropriate treatment




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settings for civilly committed patients, despite its legal responsibility to do so, directly results in

unnecessarily long lengths of stay in community hospitals.

         7.     Plaintiffs also operate emergency departments and medical-surgical units within

their community hospitals. As alleged below, patients experiencing mental health crises often are

detained in those units pursuant to Oregon civil commitment laws because of the shortage of

acute psychiatric beds due to practices and conduct of OHA. These patients cannot access

behavioral health units or other treatment settings that they desperately need because there are no

beds available for care.

         8.     Plaintiff Legacy Emanuel Hospital & Health Center, doing business as Unity

Center for Behavioral Health (Unity), operates an acute care behavioral health hospital in

Portland, Oregon. It has 85 adult beds and 22 adolescent beds. Unity provides both emergency

and inpatient services to individuals experiencing mental health crises. Unity is an acute care

hospital, meaning it provides assessment and short-term stabilizing treatment for patients

experiencing an acute behavioral health crisis. Unity is not a long-term treatment facility, nor is

it designed, equipped, staffed, or intended to provide long-term care for individuals who are

civilly committed.

         9.     Plaintiff Legacy Health operates six hospitals in Oregon. These hospitals have

emergency departments and medical-surgical units, but do not have behavioral health units. They

are not designed, equipped, staffed, or intended to provide care for individuals who are detained

or civilly committed.

         10.    Plaintiff PeaceHealth operates four hospitals in Oregon. One of those hospitals

has a 35-bed acute care behavioral health unit. It has an average length of stay of ten days. It is

not designed, equipped, staffed, or intended to provide long-term care for individuals who are


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civilly committed. The other PeaceHealth hospitals have emergency departments and medical-

surgical units, but do not have behavioral health units. They are not designed, equipped, staffed,

or intended to provide care for individuals who are detained or civilly committed.

         11.    Plaintiff Providence Health & Services – Oregon operates eight hospitals in

Oregon. Four of these hospitals have acute care behavioral health units, which combined include

66 adult beds, 19 senior beds, and 22 adolescent beds. None of those acute care behavioral health

units are designed, equipped, staffed, or intended to provide long-term care for individuals who

are civilly committed. The other hospitals have emergency departments and medical-surgical

units, but do not have behavioral health units. They are not designed, equipped, staffed, or

intended to provide care for individuals who are detained or civilly committed.

         12.    Plaintiff St. Charles Health System, Inc. operates four hospitals in Bend,

Redmond, Madras, and Prineville, Oregon. Only the hospital in Bend has acute behavioral health

beds. It has a five-bed secure psychiatric services unit, and a 15-bed acute care behavioral health

unit. The Bend hospital is not equipped, staffed, or intended to provide long-term care for

individuals who are civilly committed. The other hospitals have emergency departments and

medical-surgical units, but do not have behavioral health units. They are not equipped, staffed, or

intended to provide care for individuals who are detained or civilly committed.

         13.    Defendant David Baden is director of OHA, an agency of the State of Oregon. He

is sued in his official capacity.

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                                                FACTS

A.       Civilly committed patients are entitled to meaningful long-term treatment during
         their involuntary detention.

         14.   More than 500 individuals with severe mental illnesses are civilly committed to

OHA for treatment every year. These individuals exhibit acute symptoms such as psychosis

(dissociation with reality), paranoia, hallucinations, suicidal or homicidal ideation, and

sometimes violent behaviors toward themselves and others. In short, these individuals are very ill

and require significant care and treatment.

         15.   Civil commitment is a drastic measure that the state takes only if no other option

for care is available. A judge may commit a person only if a mental illness makes the person a

danger to themself or others or unable to provide for basic personal needs like health and safety.

The Supreme Court has held that involuntary detention due to mental illness is “a massive

curtailment of liberty.” Humphrey, 405 U.S. at 509. Accordingly, due process requires that

civilly committed persons receive treatment calculated to lead to the end of their involuntary

detention. Id. Failing to provide this type of care to persons who are involuntarily detained—and

instead using involuntary commitment to merely “warehouse” mentally ill persons away from

the community—violates due process, not to mention basic standards of human dignity and

decency.

         16.   To that end, when the state pursues civil commitment, the state must provide

mental health treatment that gives civilly committed patients “a realistic opportunity to be cured

or to improve [the] mental condition” for which they were confined. Ohlinger, 652 F.2d at 779.

“Adequate and effective treatment is constitutionally required because, absent treatment, [civilly

committed persons] could be held indefinitely as a result of their mental illness.” Id. at 778.

Thus, civil commitment requires individualized treatment in the least restrictive setting possible
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with the goal of restoring the person’s liberty, and commitment can last only long enough for the

purpose of giving patients treatment that gives them a “realistic opportunity to be cured or to

improve” so that they can return to the community and not be recommitted.

         17.   To get a “realistic opportunity to be cured or to improve,” a patient typically

requires two phases of treatment. First, the patient must be stabilized. The goal of stabilization is

to manage and alleviate patients’ most acute symptoms so that those symptoms do not inhibit

long-term recovery. Stabilizing treatment typically involves medication to manage acute

symptoms like psychosis, hallucinations, delusions, and/or aggressive or violent physical

behavior. The patient must be monitored so medications can be managed and staff can promptly

intervene if patients try to hurt themselves or others. Due to these limitations, the patient must be

in a highly restrictive setting, and patients often cannot be allowed to move about as they please.

Because stabilization is intended to last for only 1-10 days, this highly restrictive environment is

meant to be only temporary and is the role acute care hospitals are intended to play in the

process.

         18.   After being stabilized, a civil commitment patient typically requires long-term

treatment. Long-term treatment aims to do more than simply manage the patient’s symptoms—it

aims to address the patient’s mental illness itself with the goal of enabling the patient to recover

from their illness and return to the community. Each patient in long-term treatment typically has

an individualized treatment plan, which helps them recover from their acute mental illness.

Long-term treatment involves fewer restrictions and offers more independence so that patients

can practice and develop life and health skills for being successful in the community, including

the ability to take day passes and overnight visits to facilitate transition back to the community. It

involves a more stable peer environment with less patient turnover, more socialization, more


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group counseling, and more peer support. It involves training and education programs for

patients to learn how to care for their basic needs, maintain employment, and maintain healthy

relationships. It requires a calmer, less stressful environment than exists in the emergency

department or acute care unit of a community hospital, that reduces the risk of the individual

decompensating back into an acute mental health crisis.

         19.   An emergency or acute care environment, where patients are stabilized, is not

appropriate for patients who need long-term recovery. Emergency and acute care environments

are, by necessity, far more restrictive than long-term treatment environments. Emergency and

acute care environments typically house patients in crisis and require more monitoring and

staffing than do long-term treatment environments. These features can be counterproductive to

patients who have already been stabilized and who are working to recover from their mental

illness so that they can regain their freedom and return to their community. A patient in long-

term recovery cannot receive the socialization and skill-development opportunities in an

emergency or acute care environment, and the increased level of restriction is unnecessary for

such patients and often can cause decompensation.

         20.   For these reasons, it is difficult to overstate how crucial it is that a civilly

committed patient, once stabilized, be transitioned into an environment conducive to long-term

treatment. If a civilly committed patient is not transferred, the patient’s liberty is unnecessarily

curtailed, the patient does not meaningfully recover, the patient may decompensate, the patient

becomes more likely to be re-committed in the near future, and the very purpose of civil

commitment is undermined.

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B.       Oregon law requires OHA to ensure that civilly committed individuals receive
         appropriate long-term treatment.

         21.    The state is responsible for the civil commitment process. The state initiates civil

commitment proceedings; the state pursues civil commitment from the court; and, if commitment

is ordered, patients are committed “to the Oregon Health Authority for treatment.”

ORS 426.130(1)(a)(C) (emphasis added). As such, it is the responsibility of the state to provide

civilly committed individuals with necessary treatment in the most appropriate and least

restrictive setting possible to fulfill patients’ constitutional rights.

         22.    Where a person has been civilly committed, Oregon law charges OHA with the

responsibility for finding an appropriate placement for long-term treatment. Oregon law requires

that, “[u]pon receipt of the order of commitment, OHA or its designee shall take the person with

mental illness into its custody, and ensure the safekeeping and proper care of the person until the

person is delivered to an assigned treatment facility or to a representative of the assigned

treatment facility.” ORS 426.150(1). By statute, OHA must direct civilly committed persons “to

the facility best able to treat” them, or delegate to a community mental health program director

the responsibility for assignment of civilly committed persons to a “suitable” facility. ORS

426.060(2)(a), (d) (emphasis added).

         23.    The director of OHA may assign or transfer the civilly committed person to any

facility “which, in the opinion of the director, will appropriately meet the mental health needs of

the committed person.” OAR 309-033-0290(1)(a). The director of OHA may place the person in

a community hospital—however, in doing so, the director of OHA must “consult” with the

community hospital’s admitting physician, and both must, together, “determine whether the best

interests of a committed person are served by an admission to a community hospital.”

OAR 309-033-0270(3)(a).

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C.       OHA is failing to provide appropriate long-term placement options for civilly
         committed patients and failed to create appropriate options in the community.

         24.   Oregon’s civil commitment system has broken down as OHA has, for years,

ignored its statutory obligations to this most vulnerable population. Despite that it is the state’s

responsibility to provide civilly committed individuals with constitutionally sufficient

treatment—which, for most, requires long-term treatment—OHA is failing to ensure that long-

term treatment is available to patients who need it.

         25.   Historically, civilly committed individuals went to the Oregon State Hospital

(OSH), the mental health hospital operated and managed by OHA. ORS 179.321(1). OSH is

intended to be used by the state “for the care and treatment of persons with mental illness.” ORS

426.010. Within OSH are multiple secure long-term residential treatment units which provide the

long-term treatment that many civilly committed patients need: fewer restrictions, more

independence, a more calm and stable environment, more stable peer communities, less patient

turnover, more socialization and peer support, more group counseling, and more training and

education programs for patients to learn to care for their basic needs, maintain employment, and

maintain healthy relationships. However, over the years (and as a result of other litigation), OHA

has increasingly prioritized the admission of aid-and-assist and GEI patients at OSH over civil

commitment patients.

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The graph below (provided by OSH) illustrates this trend:




         In December of 2019, OSH stopped taking civilly committed patients virtually altogether,

shifting admission priorities to focus almost entirely on the aid-and-assist and GEI populations.

         26.    Over this period of admitting steadily fewer civil commitment patients to its state

hospital facilities, OHA has done virtually nothing to create additional capacity for civilly

committed patients to receive needed treatment in appropriate settings. For instance, OHA has

not increased capacity at OSH to continue accommodating civilly committed patients even as it

has admitted steadily more patients from the aid-and-assist and GEI populations. Nor has OHA

built other secure residential treatment facilities (or other long-term treatment options) outside of

OSH.

         27.    OHA has also failed to ensure that other entities authorized to care for civilly

committed patients—like counties, municipalities, and nonprofit organizations—can fill the gap

left by the state. OHA has failed to, for instance, provide sufficient funding, grants, or other

incentives for other entities to create and run long-term treatment facilities needed by many of




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the patients who are civilly committed to OHA’s custody but not receiving long-term treatment

by OHA.1

         28.    Plaintiffs strongly support the rights of aid-and-assist and GEI patients, who

should be removed from jail and receive meaningful treatment. But OHA is responsible for

civilly committed patients, too, and must serve aid-and-assist and GEI patients without

abandoning civilly committed patients. Indeed, the law prohibits OHA from prioritizing aid-and-

assist patients over civilly committed patients if it means giving civilly committed patients

inadequate care. The Ninth Circuit has held that, when it comes to providing constitutionally

adequate treatment to involuntarily detained patients, “[l]lack of funds, staff or facilities cannot

justify the State’s failure to provide [such persons] with [the] treatment necessary for

rehabilitation.” Ohlinger, 652 F.2d at 779. Indeed, OHA’s recent practices have already been

adjudged unlawful by this Court. On November 15, 2021, in Bowman v. Matteucci, 3:21-cv-

01637, Judge Marco A. Hernández granted injunctive relief to GEI patients who claimed that

they were unconstitutionally being denied admission to OSH because OHA was prioritizing the

admission of aid-and-assist patients. OHA argued that, due to an injunction regarding admission

requirements for aid-and-assist patients in Or. Advoc. Ctr. v. Mink, 322 F.3d 1101, 1121–22 (9th

Cir. 2003), OHA had to prioritize aid-and-assist patients over other populations of patients.

Judge Hernández expressly rejected the notion that OHA may prioritize the constitutional rights

of some patients over others:


         If OSH cannot admit GEI patients while admitting aid-and-assist patients within
         the court-ordered timeframe, it’s because OSH lacks the space and the funding to

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  For example, in the entire State of Oregon, there are currently only two Class One secure
residential treatment facilities. A Class One facility is approved “to be locked to prevent a person
from leaving the facility, to use seclusion and restraint, and to involuntarily administer
psychiatric medication.” OAR 309-033-0520(3). These are critical resources that some civilly
committed individuals may require before they are ready to step down to a lower level of care.
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         do so—not because the Mink order compels it to prioritize one group over
         another. In other words, any prioritization stems from Defendant’s failure to
         provide the funds, staff, and facilities necessary to satisfy the constitutional rights
         of both groups. When satisfying constitutional guarantees, Defendants cannot
         rob Peter to pay Paul.

Bowman v. Matteucci, 3:21-cv-01637, 2021 WL 5316440, at *2 (D. Or. Nov. 15, 2021)

(emphasis added). Despite this unambiguous ruling, OHA continues to systematically prioritize

care for other patients over care for civilly committed patients, again “robbing Peter to pay

Paul.”


D.       OHA has effectively outsourced its responsibilities to the civilly committed
         population to community hospitals without hospitals’ consent.

         29.    Rather than addressing these problems by increasing long-term treatment capacity

and options throughout Oregon, OHA has effectively outsourced its responsibilities to civilly

committed patients by leaving patients indefinitely in community hospitals’ emergency rooms

and acute behavioral care units.

         30.    Plaintiffs are Oregon’s four largest Health Systems, each of which operates

several community hospitals across Oregon. Each of Plaintiffs’ hospitals have emergency

departments or emergency rooms where patients experiencing severe crises and psychiatric

emergencies may receive emergency psychiatric care. Some (but not all) of Plaintiffs’ hospitals

have acute behavioral care units, in which patients requiring further acute care after emergency

treatment can be treated and monitored overnight or, at most, for a few days while they stabilize.

         31.    Due to the high level of close monitoring and treatment involved in providing

acute care for these patients, emergency and acute behavioral care settings are highly restrictive.

Other patients occupying the units them are generally not stable because they are still in the

process of being treated and stabilized. Further, the environments are not calm, and the rate of

patient turnover is high. These environments are not conducive to patients who require the calm,
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stability, and freedom that exists in long-term treatment environments. There is no realistic way

for Plaintiffs to realistically provide long-term treatment in such environments.

         32.   In comparison, secure residential treatment facilities are a more suitable places for

a civilly committed individuals who no longer require emergency or acute behavioral care

because they offer long-term treatment (which acute care hospitals do not) and allow more

freedom and independence for the patient. For example, a patient at an acute care unit

necessarily must live in confined, closed-off, heavily monitored physical spaces:




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         A patient at OSH or a secure residential facility, meanwhile, may recover in a living

space far more conducive to meaningful long-term recovery:




         Long-term treatment facilities also tend to have enriching facilities and opportunities that

are vital to patients’ long-term recovery, like gyms, education and vocational opportunities,

outdoor facilities, cafés, markets, and coffee shops. Individuals in long-term residential treatment

facilities can sometimes go places on day passes, wear their own clothes, and go outside daily for

fresh air. There can be family and friend events and peer support specialists on staff. Those

amenities and opportunities are generally no available in the emergency departments and acute

care units of community hospitals.

         33.    Most individuals who become civilly committed begin the civil commitment track

via the emergency department of a community hospital. Patients are often brought to Plaintiffs’

hospitals by law enforcement or first responders, who deliver individuals to the emergency

departments when they are in acute distress. Patients also may be brought by family or friends, or

on their own accord.


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Under both state and federal law, whenever patients arrive at Plaintiffs’ emergency room doors,

Plaintiffs must evaluate and, if necessary, treat the patients regardless of patients’ ability to pay

or whether the patient might later be civilly committed. The Emergency Medical Treatment and

Active Labor Act (“EMTALA”) requires, for example, that hospitals evaluate and treat all

patients who arrive at an emergency room, regardless of whether the patient can pay or any other

reason; and if Plaintiffs were to fail to evaluate and provide emergency treatment to a patient for

any reason, Plaintiffs could be cited for violation of federal law and lose federal Medicare

funding. Similar obligations are imposed by OHA’s own regulations that apply to community

hospitals. OAR 333-520-0070. As such, because of the operation of these state and federal laws

and regulations, Plaintiffs must accept all patients into their emergency departments and cannot

control which patients enter their hospitals.

         34.   Where a patient admitted to the emergency room potentially meets the criteria for

civil commitment—that is, they present a danger to themselves or others or are unable to care for

their own basic needs, due to their mental illness—a licensed independent practitioner may

initiate civil commitment proceedings. Where this happens, Plaintiffs must involuntarily detain

and hold the patient for several days under a “Notice of Mental Illness,” at least until the state

holds a civil commitment hearing and a state court judge issues a commitment order (or until the

patient no longer meets detention criteria). Of the patients who are detained, some remain in

emergency departments while others may be admitted to the scarce number of inpatient

psychiatric beds that exist in plaintiffs’ hospitals, and still others may be admitted to inpatient

medical unit beds. Regardless of where patients are located in plaintiffs’ hospitals, federal and

state law and medical ethics rules prohibit Plaintiffs from discharging these patients while they

are psychiatrically unstable, lack a safe discharge plan, and are being detained under Oregon


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civil commitment law. Plaintiffs also cannot discharge patients in their emergency rooms under

EMTALA; if they do, they would be subject to enforcement action which might include loss of

Medicare funding. 42 C.F.R. § 482.43. As detailed below, this would be true even if Plaintiffs

withdrew their certification for providing acute care services to civilly committed patients—if

Plaintiffs did this, there would simply be no beds to which to send most patients, and patients

would remain in the emergency room or in an inpatient unit.

         35.   In the period between a patient’s arrival in an emergency department and the time

of their civil commitment hearing, Plaintiffs provide emergency psychiatric care and/or acute

behavioral care to stabilize the patient. Such care is short-term in nature and, as such, requires

only a brief period of treatment. After a few days, some patients generally are stabilized as much

as is medically possible under their individual mental conditions and, from that point on, receive

no further medical benefit from emergency psychiatric care and acute behavioral care. Patients

involved in civil commitment proceedings typically reach this point around the time of, or

shortly after, their civil commitment hearing and order of commitment (if the state judge orders

them committed).

         36.   Where a patient is ordered committed, Oregon law charges OHA with the

responsibility for “tak[ing] the person with mental illness into its custody” and “ensur[ing] the

safekeeping and proper care of the person until the person is delivered to an assigned treatment

facility.” ORS 426.150(1). OHA must direct the civilly committed person “to the facility best

able to treat them or ensure that the person is directed to a “suitable” facility. ORS 426.060(2)(a),

(d). Some civilly committed patients can be stabilized within two to three weeks of commitment;

for those individuals, remaining in acute care units may be appropriate because those patients

may still benefit from emergency psychiatric and acute behavioral care.


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Other civilly committed patients, however, already have been stabilized as much as is medically

possible around the time they are civilly committed (or shortly thereafter) and have received all

medical benefit possible from the emergency psychiatric care and acute behavioral care that

Plaintiffs provide. Under a functional statewide behavioral healthcare system, OHA is supposed

to send those committed patients (who are no longer benefiting medically from emergency

psychiatric care and acute behavioral care) to a suitable facility that provides long-term care,

such as a secure residential treatment facility. But OHA does not differentiate between civilly

committed patients who continue to need emergency psychiatric or acute behavioral care and

those who do not. Rather than consider the individual needs of the patient and exercise discretion

to make affirmative decisions about whether such patients should either remain in a community

hospital or be transferred to a different facility (and rather than delegating that decision to a

qualified person and ensuring that they make the decision appropriately), OHA fails to exercise

any discretion and make any decision and simply leaves patients in the community hospitals

where they already are. In doing so, OHA also does not consult with the treating physicians of

those community hospitals to determine the best location for individual patients’ care, as is

required by OAR 309-033-0270(3)(a).

         37.   Currently, OHA is simply leaving civilly committed patients in the community

hospitals where they were first brought, despite that, for some individuals, the patient can no

longer receive any medical benefit from the emergency psychiatric care and acute behavioral

care that Plaintiffs provide and cannot receive the long-term treatment the patients need, despite

Plaintiffs’ best efforts to provide good medical care to patients. Community hospitals are simply

not equipped, staffed, or designed to house these civilly committed individuals for months at a

time, let alone six months or more.


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         38.    Due to the operation of state and federal laws and regulations and medical ethical

rules, where OHA leaves civilly committed patients in Plaintiffs’ community hospitals, Plaintiffs

have no feasible options other than to continue to house the patient and provide basic care (i.e.,

administer basic regular medications) and consumable resources (i.e., food, toiletries, and other

basic provisions) indefinitely. For a handful of civilly committed patients, this indefinite period

lasts for several weeks and, sometimes, several months.

         39.    Plaintiffs cannot transfer the patients elsewhere because, almost always, there is

nowhere for the patient to go. Under state and federal law, Plaintiffs can transfer a patient to

another hospital for treatment only if the other hospital both (1) is certified to care for civil

commitment patients and (2) has available beds. If there is no certified hospital with available

beds that agrees to accept the civilly committed patient, the patient cannot be transferred and

remains in the Plaintiffs’ hospitals with no realistic prospect of receiving the long-term treatment

they require. Plaintiffs’ hospitals, however, provide most available hospital beds in the entire

state of Oregon. Out of approximately 460 licensed inpatient psychiatric treatment beds available

across all Oregon’s communities, 264 (57.4%) are in plaintiffs’ facilities. Because of the severity

of Oregon’s behavioral health crisis, all other Oregon beds that are designed for long-term

treatment are typically full with long and often closed waitlists of their own. And even when

such other facilities are not full, they often prioritize referrals from OSH, while referrals from

acute care hospitals are given less priority. There simply is not enough available capacity in

Oregon for Plaintiffs to transfer civilly committed patients to other facilities (whether for long-

term treatment or otherwise).

         40.    Plaintiffs cannot afford to add more beds to their hospitals or build their own

long-term treatment facilities for civilly committed patients left in their care.


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         41.   Despite that OHA’s mission statement is to “ensur[e] all people and communities

can achieve optimum physical, mental, and social well-being,” OHA has suggested to Plaintiffs

that, if Plaintiffs can no longer medically help a civilly committed patient left in Plaintiffs’ care,

Plaintiffs should simply discharge the civilly committed patient to the sidewalk.

         42.   But discharging civilly committed patients—as OHA recommends—would result

in an unmitigated disaster for both patients and the community and would require Plaintiffs to

violate both law and court orders. A patient who is under civil commitment is, by definition,

someone who presents a danger to themself or others or who is “unable to provide for basic

personal needs that are necessary to avoid serious physical harm in the near future.” ORS

426.005(1)(f). Thus, if Plaintiffs followed OHA’s recommendation and discharged civilly

committed patients into the community without any discharge plan and with nowhere to go, there

is a substantial chance that the patient will cause harm to themselves or others in the community.

There is also a substantial likelihood that the individual—who is still suffering from a severe and

insufficiently treated psychiatric condition or crisis—would be picked up by first responders and

brought right back to one of Plaintiffs’ emergency departments. Plaintiffs, meanwhile, would

violate several state and federal laws and ethical rules. For instance, Plaintiffs would violate

OAR 309-033-0250(6), which requires that civilly committed patients in hospital facilities “may

only be released by the court” unless transferred to another facility. Plaintiffs would also violate

ORS 441.053(2), 441.054, OAR 333-505-0055, and OAR 333-520-0070(4), which require

discharge of patients only in accordance with a discharge plan that considers and accommodates

the individual needs of patients (which, for the patients at issue here, require long-term

treatment). Plaintiffs would also violate EMTALA to the extent the patients are staying in beds

in the emergency department. See 42 CFR § 482.43. These violations may result in fines and/or


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losses of Plaintiffs’ licensure. Such violations would also harm Plaintiffs’ reputations as

hospitals and health systems that provide care for all patients of all walks of life and put patients’

needs first. OHA knows or should know that this is not a realistic suggestion. In fact, it is the

existence of these laws that has enabled OHA to essentially outsource its obligation to care for

civilly committed individuals to community hospitals.

         43.    OHA has also suggested that Plaintiffs could avoid having civilly committed

patients left in their care indefinitely if Plaintiffs declined to acquire certification to treat civilly

committed patients. But declining to acquire certification to treat civilly committed individuals

would not materially change the situation for Plaintiffs. Even if Plaintiffs were not certified to

treat civilly committed patients, Plaintiffs would still be required by law to receive, evaluate, and

treat all patients who enter their emergency rooms, before civil commitment occurs. Plaintiffs

would still have to hold and provide emergency psychiatric treatment to patients who are placed

in civil commitment proceedings, before commitment. Plaintiffs would still be prohibited by

state and federal laws and regulations, and medical ethical rules, to discharge the patient while

civil commitment proceedings are ongoing. And, when patients are committed, Plaintiffs still

would be unable to lawfully discharge the patient or transfer the patient to another hospital

unless the other hospitals both (1) is certified and (2) has available beds. If no other certified

beds are available elsewhere, the patient would nonetheless remain in Plaintiffs’ hospitals

regardless of whether Plaintiffs are certified to treat civilly committed patients, because Plaintiffs

would be legally prohibited from discharging the patient and there is nowhere else for the patient

to go.

         44.    Indeed, if Plaintiffs ceased acquiring approval and certification to treat civilly

committed patients, it would be certain that there would be woefully insufficient certified beds


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available in the rest of the state to receive Plaintiffs’ civilly committed patients. As noted, there

are only certified 460 psychiatric beds in Oregon in all, and 264 of them (over 57%) are located

in Plaintiffs’ hospitals. If Plaintiffs removed their 264 beds from the statewide pool, far more

civilly committed patients would be in need of transfer, yet far fewer licensed beds would be

available in the rest of the state to receive them (as noted, those beds are already full and have

long and often closed waitlists of their own). Because Plaintiffs are four of Oregon’s largest

health systems and make up so much of Oregon’s total psychiatric resources, the withdrawal of

Plaintiffs’ beds from the available certified pool would create an unprecedented shortage of

psychiatric resources that would make it essentially certain that Plaintiffs would have no

available places to send civilly committed patients left in their care. Instead, the patients would

remain at the hospital and Plaintiffs would suffer the same or worse injuries as they do when

certified.2

         45.    Plaintiffs’ choice to acquire state certification from OHA to provide emergency

psychiatric care and acute behavioral care to civilly committed patients does not amount to

consent to be left indefinitely with civilly committed patients who no longer benefit from such



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  Although OHA has suggested that Plaintiffs could avoid their injuries by simply declining to
become certified in the future, OHA knows that this realistically would not address the backup of
civilly committed patients in the Plaintiffs’ emergency departments. As discussed below, OHA
conducted a study of “Emergency Department Boarding of Psychiatric Patients in Oregon” in
2017 and concluded that the decreasing number of beds available for civilly committed patients
at OSH “results in more civilly committed individuals waiting in acute care” in community
hospitals, which in turn “decreases the access to acute care beds, which causes a backup in the
ED.” Oregon Health Authority, Emergency Department Boarding of Psychiatric Patients in
Oregon, Report Briefing, Feb. 1, 2017, available at
https://www.oahhs.org/assets/documents/files/publications/0%20OHA%20Psychiatric%20ED%
20Boarding%20Report%20Brief%20Final.pdf. Thus, OHA knows that, with both the
unavailability of beds at OSH for civilly committed patients and the suggested withdrawal of
Plaintiffs’ 264 acute care beds (out of 460 in Oregon, that is, 57%), there would be far too few
available acute care beds in Oregon to meet the overwhelming demand—and the result of this
shortage will be felt in community hospitals’ (including Plaintiffs’) emergency departments.
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care. Nor does Plaintiffs’ choice to acquire state certification amount to a voluntary choice to be

left with the responsibility to provide long-term treatment to such patients. To the contrary, the

certification process is highly specific to certain kinds of psychiatric and behavioral care.

Hospitals are certified to provide only specific services that they are equipped to provide, and

nothing more. This is for good reason. It is a serious responsibility to provide any treatment to

civil commitment patients, as doing so often involves providing treatment to an unwilling patient

who, due to their several mental illness, vigorously resists treatment. Not just any hospital can be

trusted with this grave responsibility. To become certified, hospitals must undergo a rigorous

certification process to show they have sufficient staff, training, equipment, space, and so on to

safely, effectively, and ethically provide such care to civilly committed patients. Because civilly

committed patients generally need multiple different kinds of care during their commitment (i.e.,

emergency care, acute care, long-term care)—and each kind of care requires different kinds of

training, equipment, facilities, and so on to safely, effectively, and ethically provide—

certification is treatment-specific so that patients who need a certain kind of care are not treated

by hospitals that are unable to provide that care safely, effectively, and ethically. See OAR 309-

033-0530(1) (“Only hospitals . . . approved by the Division . . . shall provide care and treatment

services for persons under civil commitment . . . .”). A hospital can become certified to provide

the following types of care:

               (a)     Acute and emergency care (which includes an even more

                       limited subcategory of “hospital hold and seclusion room

                       services (5 day Hold)”);

               (b)     Class I secure residential treatment, a form of long-term

                       treatment in which a hospital may physically restrain


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                        patients and involuntarily administer psychiatric

                        medication; and

                (c)     Class II secure residential treatment, another form of long-

                        term treatment in which a hospital may not physically

                        restrain or medicate patients but may lock the facility so the

                        patient cannot leave.

         46.    Plaintiffs’ hospitals have acquired certification for only the first kind of

treatment—emergency and acute psychiatric care. Plaintiffs have not sought certification or

voluntarily consented to providing long-term treatment, and OHA has neither evaluated

Plaintiffs’ hospitals nor deemed them suitable for such treatment. Yet OHA leaves civilly

committed patient who no longer need emergency or acute psychiatric care, and who instead

need long-term care, in Plaintiffs’ hospitals indefinitely. As such, OHA effectively has

outsourced its responsibility to ensure adequate treatment for such patients to Plaintiffs’

hospitals, without Plaintiffs’ consent and to both Plaintiffs’ and patients’ detriment.

E.       OHA’s practices hurt both civilly committed patients and community hospitals.

         47.    OHA’s practices cause civilly committed patients requiring long-term treatment

to be left indefinitely in community hospitals that are not equipped and able to provide the

needed long-term care. This leads to an unconscionable (but, unfortunately, common) situation

where individuals are denied the care that justifies their commitment in the first place and that

they are constitutionally entitled to receive. As a result, the patient’s liberty is unnecessarily

curtailed, the patient does not meaningfully recover, the patient becomes more likely to be re-

committed in the near future, and the very purpose of civil commitment is undermined.




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         48.   OHA’s practices also negatively impact community hospitals. When civilly

committed patients are left in community hospitals after the point at which they no longer

medically benefit from emergency psychiatric and acute behavioral treatment, Plaintiffs must

divert resources to house and provide basic care for civilly committed patients and not Plaintiffs’

other patients. Housing and providing basic care to civilly committed patients require significant

resources and attention by physicians, nurses, and other healthcare professionals—resources and

attention that Plaintiffs cannot simultaneously direct toward other patients who would medically

benefit from emergency psychiatric and acute behavioral treatment. Basic care to such civilly

committed individuals includes provision of a hospital bed, medication, food, housekeeping

services, and other hospital resources, which Plaintiffs accordingly cannot allocate to other

patients. Oftentimes, civilly committed patients require a one-on-one sitter 24 hours a day to

ensure their safety and the safety of other patients and staff.

         49.   The beds occupied by civilly committed patients are not available for other

patients who need them, as patients back up in emergency departments, resulting in hardship for

others who need to access acutely needed medical and mental health treatment. Some individuals

are so acute that adjacent rooms must be closed for safety. In many cases, these individuals

cannot safely be in shared rooms, further reducing capacity.

         50.   OHA’s practices deprive Plaintiffs of their property without due process of law

and effectuate a taking of Plaintiffs’ property as OHA forces community hospitals to hold and

care for civilly committed individuals who, by law, have been committed to the custody of OHA

for treatment. Although OHA provides Plaintiffs with a small amount of reimbursement for

holding civilly committed patients, the reimbursement received is inadequate, causing financial

harm. Additionally, OHA does not require their Coordinated Care Organizations to contract with


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all Oregon hospitals who are certified to provide care, resulting in inadequate reimbursement for

necessary medical care and no consequences for having failed network panel adequacy as

required by their contracts. In addition, Plaintiffs incur additional expenses for additional staff

and workers’ compensation costs, property damage, and room closures, for which they are not

reimbursed. Plaintiffs are all non-profits, but their behavioral health units are suffering

unsustainable losses that amount to tens of millions of dollars a year. If this continues, some of

these important behavioral health resources may be forced to close.

         51.   Despite knowing of its unlawful practices for years, OHA continues to allow

them. OHA benefits by passing the costs of treating severely mentally ill patients to private

entities. In effect, OHA has silently outsourced the civil commitment system to Oregon health

systems and acute care community hospitals without their consent or agreement.

         52.   The negative impact of OHA’s practices, conduct, failures, and inaction on

Plaintiffs and other Oregon community hospitals are severe and ongoing. Because the patients

are civilly committed, they can only be discharged to secure settings, or else must be kept in the

hospital until they no longer meet commitment criteria. This can mean hospital stays of several

weeks, to several months, up to the entire 180-day commitment, and, in some cases, through

recommitment periods as well. In turn, this prevents community hospitals from being able to

treat and stabilize other vulnerable patients experiencing mental health crises, many of whom are

also struggling with substance abuse disorder and houselessness in addition to mental illness.

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F.       Rather than engage meaningfully with the problem, OHA has failed to find a
         solution for civilly committed individuals and blamed the counties and nonprofit
         care providers.

         53.    Over the past several years, Plaintiffs have pleaded with OHA for assistance and

support in finding appropriate placements for civilly committed individuals countless times.

Plaintiffs have asked OHA to seek more resources, expand services, and build capacity rather

than detain civilly committed individuals indefinitely in restrictive acute care settings. Plaintiffs

have offered to collaborate with OHA to find, or invent, a workable solution. Almost without

exception, OHA has been unresponsive and has failed to provide a solution for the patients for

whom it is responsible. Plaintiffs have also asked OHA to hold the Coordinated Care

Organizations accountable for reimbursement for their members who are placed in non-

contracted hospitals. OHA has also failed to provide a solution for these patients for whom their

contracted entities are responsible.

         54.    OHA’s failure to provide appropriate and legally required treatment to civilly

committed individuals—and the negative impact on Oregon’s community hospitals—is well

known to OHA. A 2017 study for OHA concluded: “Patients at the state hospital for aid and

assist take up beds that could be used for civil commitment patients. This results in more civilly

committed individuals waiting in acute care for a state hospital bed to open up. This decreases

the access to acute care beds, which causes a backup in the ED. Multiple strategies have tried to

reverse this trend with only minimal success. OHA is revitalizing planning and actions and will

have a strategic action plan in place by February 2017.”3 But, despite having known of its




3
 Oregon Health Authority, Emergency Department Boarding of Psychiatric Patients in Oregon,
Report Briefing, Feb. 1, 2017, available at
https://www.oahhs.org/assets/documents/files/publications/0%20OHA%20Psychiatric%20ED%
20Boarding%20Report%20Brief%20Final.pdf.
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practices since 2017, OHA has continued to ignore its statutory obligations and has continued to

knowingly reduce long-term placement options for civilly committed patients over that time.

         55.   Despite knowing about how its practices are hurting both civilly committed

patients and community hospitals, OHA has indifferently continued its practiced and indicated

no serious intent or interest in changing its ways otherwise helping patients or hospitals. OHA

officials apathetically shrug their shoulders and say that the chief problem is OHA’s lack of

enough funding in their budget and available beds in the state hospital system. OHA knowingly

communicates to Plaintiffs that they will simply have to keep forfeiting their property for the

service of OHA and that civilly committed patients will have to forego needed long-term

treatment, notwithstanding their need and constitutional entitlement to it.

         56.   OHA may not outsource its ultimate responsibility to provide constitutionally

adequate care to civilly committed patients. By law, OHA is responsible for ensuring that civilly

committed individuals receive appropriate long-term placements because civilly committed

individuals are committed to OHA, not the county or a community mental health program. ORS

426.130(1)(a)(C) (the court may “order commitment of the person with mental illness to the

Oregon Health Authority for treatment”); ORS 426.060(1) (“[c]ommitments to the Oregon

Health Authority are only to be made by a judge of circuit court in a county of this state.”). As

such, Plaintiffs seek declaratory and injunctive relief against OHA’s unlawful practices.

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                                              CLAIMS

                                          FIRST CLAIM

      Violation of Civilly Committed Individuals’ Rights Under the Due Process Clause

               of the Fourteenth Amendment to the United States Constitution

         57.   Plaintiffs reallege and incorporate by reference paragraphs 1 through 56 above.

         58.   All individuals have the constitutional right not to be deprived of liberty without

due process of law. U.S. Const. amend. XIV, § 1. Involuntarily detaining a person due to mental

illness is “a massive curtailment of liberty.” Humphrey, 405 U.S. at 509.

         59.   The Due Process Clause of the Fourteenth Amendment protects two distinct but

related rights: procedural due process and substantive due process. Procedural due process

prohibits governmental deprivation of liberty without adequate procedure. Cleveland Bd. of

Educ. v. Loudermill, 470 U.S. 532, 541 (1985). Substantive due process forbids the government

from depriving a person of liberty in such a way that “shocks the conscience” or “interferes with

rights implicit in the concept of ordered liberty.” Emmert Indus. Corp. v. City of Milwaukie, 450

F. Supp. 2d 1164, 1175 (D. Or. 2006) (quoting Nunez v. City of Los Angeles, 147 F.3d 867, 871

(9th Cir. 1998)). Liberty interests “may arise from either of two sources: the due process clause

itself or state law.” Carver v. Lehman, 558 F.3d 869, 872 (9th Cir. 2009).

         60.   Civilly committed individuals have a constitutional liberty interest in being free

from bodily restraint. The state may involuntarily detain individuals for purposes of providing

treatment; however, individuals who are involuntarily detained for this purpose “have a liberty

interest in receiving restorative treatment.” Mink, 322 F.3d at 1121. Due process requires that

mentally ill persons who are detained receive treatment calculated to lead to the end of their

involuntary detention. Id. To that end, states must provide all civilly committed persons with


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access to mental health treatment that gives them “a realistic opportunity to be cured or to

improve [the] mental condition” for which they were confined. Ohlinger, 652 F.2d at 779.

“Adequate and effective treatment is constitutionally required because, absent treatment, [civilly

committed persons] could be held indefinitely as a result of their mental illness.” Id. at 778.

         61.   Pursuant to 42 U.S.C. § 1983, every person acting under color of law who

deprives another person of his or her constitutional rights is liable at law and in equity. At all

times relevant, Defendant David Baden was a person acting under color of state law who is liable

for OHA’s unconstitutional conduct, policy, and practice.

         62.   For years, OHA has engaged in conduct and a policy and practice that violates

civilly committed individuals’ right to substantive and procedural due process. OHA’s conduct,

policy, and practice violates civilly committed individuals’ liberty interest in restorative

treatment and deprives them of a realistic opportunity to be cured or improve the mental

condition for which they were confined. When OHA leaves civilly committed individuals in

acute care community hospitals, they do not receive access to specialized treatment, care, and

training oriented to their long-term needs and focused on their reentry into the community.

Instead, they remain confined in unnecessary, overly-restrictive settings without access to long-

term treatment for weeks, months, and sometimes their entire 180-day commitment. As a result

of OHA’s practices, they are more likely to be recommitted and cycle through the system over

and over again.

         63.   OHA lacks legitimate state interests in leaving civilly committed patients in

unnecessary, overly restrictive settings where patients do not receive access to minimally

adequate treatment and transition services. Despite knowing of its practices for years, OHA has

deliberately avoided addressing these problems, at least in part because OHA directly benefits


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from its practices by effectively outsourcing the civil commitment process to community

hospitals and making community hospitals bear OHA’s would-be costs, responsibilities, and

liabilities.

         64.    There is no state law procedure for community hospitals to ensure civilly

committed individuals are placed by OHA in the facility best able to treat them or a suitable

facility during their 180-day commitment, so they can receive appropriate long-term treatment.

         65.    OHA will continue engaging in its conduct, policy, and practice in violation of the

Fourteenth Amendment unless the Court enjoins such conduct. As demonstrated by its inaction,

despite repeated pleas to OHA for help over the years, it is clear that OHA intends to continue

using community hospitals to house civilly committed individuals indefinitely, if not

permanently. Declaratory and injunctive relief are appropriate because community hospitals lack

an adequate remedy at law to protect their patients’ right to appropriate long-term treatment.

         66.    Plaintiffs have standing to represent the population of civilly committed patients

being cared for in Plaintiffs’ hospitals. Plaintiffs’ interests as healthcare providers are closely

aligned with the interests of patients on these issues. Successfully compelling OHA to cease its

unconstitutional practices would directly stop injuries to both patients and Plaintiffs

simultaneously. Plaintiffs do not seek any relief for itself that will injure or not also help civilly

committed patients. The only relief Plaintiffs seek in this action involve solutions in which the

civilly committed patients will leave Plaintiffs’ hospitals only if it means receiving long-term

treatment that patients need to recover but that Plaintiffs are not equipped to provide.

         67.    Plaintiffs also, as patients’ healthcare providers, have close, fiduciary, and

confidential relationships with patients, ensuring and incentivizing Plaintiffs to be effective

advocates for patients. Plaintiffs are generally bound by federal, state, and ethical rules to serve


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their patients interests and “do no harm” to patients. Plaintiffs are also bound by state, federal,

and ethical rules to maintain confidentiality with patients.

         68.    Civilly committed patients face several hindrances from bringing an action for

injunctive relief themselves, in which they would seek for OHA to provide constitutionally

adequate treatment during the period of their commitment. First, civilly committed patients are

committed for only a short duration of time—180 days at most—making it likely that their

injuries and equitable claims for relief will become moot before litigation can run its course.

Second, civilly committed patients face a recognized stigma for their commitment and thus are

inherently disincentivized from bringing a public action related to their commitment. See

generally State v. T.T., 293 Or. App. 376, 386, 428 P.3d 921, 927 (2018) (Aoyagi, J., dissenting)

(noting the “serious . . . social stigma . . . attendant to a civil commitment”). Third, civilly

committed suffer from severe mental illnesses that, as alleged above, often involve severe

symptoms including psychosis, hallucinations, and delusions. This makes it exceptionally

difficult for them to advocate for themselves or even find and hiring someone to advocate for

them.4 Fourth, civilly committed patients are often indigent and lack funds to hire a lawyer or

other advocate, limiting their advocacy options to either themselves (which, as noted, is often a

poor option because of their mental condition) or pro bono advocacy. Fifth, civilly committed

patients are confined in hospitals and oftentimes, due to their illness, must have highly restricted




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  Patients are generally assigned no one to advocate on their behalf because Oregon’s civil
commitment scheme does not provide them with counsel after the point of commitment. While
individuals who are detained have a right to counsel during the court process leading up to an
order of commitment, that representation ends at the time the order is entered. Having been
civilly committed, individuals are no longer represented by counsel to protect their rights. They
are lost to the oversight of the courts that have committed them, as is OHA, which disclaims
responsibility for their care.
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access to phones and the internet, making it even more difficult for them to find a lawyer or

similar advocate to assert claims on their behalf.

         69.      Plaintiffs seek a declaration that OHA’s conduct, policy, and practice violates

civilly committed individuals’ Fourteenth Amendment rights. Plaintiffs also seek a permanent

injunction enjoining OHA from continuing its conduct, policy, and practice.

         70.      Plaintiffs do not seek compensatory damages for OHA’s due process violations.

Plaintiffs seek only declaratory relief, injunctive relief, and recovery of their attorneys’ fees and

costs in bringing this action.

                                           SECOND CLAIM

             Violation of Community Hospitals’ Substantive Due Process Rights Under

                   the Fourteenth Amendment to the United States Constitution

         71.      Plaintiffs reallege and incorporate by reference paragraphs 1 through 70 above.

         72.      The Due Process Clause of the Fourteenth Amendment provides that states shall

not “deprive any person of life, liberty, or property without due process of law.” U.S. Const.

amend. XIV, § 1. The Due Process Clause “specially protects those fundamental rights and

liberties which are, objectively, deeply rooted in the Nation’s history and tradition, and implicit

in the concept of ordered liberty, such that neither liberty nor justice would exist if they were

sacrificed.” Washington v. Glucksberg, 521 U.S. 702, 720–21 (1997). The right to exclude others

from an owner’s property and to use the property as the owner sees fit is one such fundamental

right. Lingle v. Chevron U.S.A., Inc., 544 U.S. 528, 539 (2005).

         73.      The Due Process Clause of the Fourteenth Amendment protects two distinct but

related rights: procedural due process and substantive due process. Procedural due process

prohibits governmental deprivation of liberty and property rights without adequate procedure.


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Cleveland Bd. of Educ., 470 U.S. at 541. Substantive due process forbids the government from

depriving a person of life, liberty, or property in such a way that “shocks the conscience” or

“interferes with rights implicit in the concept of ordered liberty.” Emmert Indus. Corp., 450 F.

Supp. 2d at 1175 (quoting Nunez, 147 F.3d at 871).

         74.   Pursuant to 42 U.S.C. § 1983, every person acting under color of law who

deprives another person of his or her constitutional rights is liable at law and in equity. At all

times relevant, Defendant David Baden was a person acting under color of state law who is liable

for OHA’s unconstitutional conduct, policy, and practice.

         75.   For years, OHA has engaged in conduct and a policy and practice that violates

Plaintiffs’ and other community hospitals’ right to due process. Specifically, OHA has

knowingly and/or deliberately failed to build or otherwise ensure the availability of long-term

treatment capacity for individuals who have been civilly committed to its care under ORS

426.060. OHA has failed to do so for no reason that furthers public health, safety or welfare—

rather, OHA has failed to do so because it claims it simply lacks funding and, moreover, wishes

to prioritize use of its funds to other populations of mentally ill individuals (like aid-and-assist

and GEI patients). OHA knows that multiple federal courts have found these reasons insufficient

as a matter of law, see Ohlinger, 652 F.2d at 779, Or. Advocacy Ctr., 322 F.3d at 1121, Bowman,

2021 WL 5316440, at *2, but deliberately continues its practices anyway.

         76.   Independently and/or alternatively, OHA knowingly outsources its responsibilities

to Plaintiffs’ hospitals, as described above, for no reason or purpose related to public health,

safety, or welfare. OHA knows that civilly committed patients left indefinitely in Plaintiffs’

community hospitals need long-term treatment but are not receiving it, yet OHA continues its

practices, serving no health, safety, welfare, or other purpose. OHA knowingly engages in these


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practices because it claims it lacks funds to act differently, even though OHA knows that federal

courts have found this reason insufficient as a matter of law. See Ohlinger, 652 F.2d at 779, Or.

Advocacy Ctr., 322 F.3d at 1121, Bowman, 2021 WL 5316440, at *2.

         77.   OHA’s conduct, policy, and practice results in a deprivation of Plaintiffs’

property and a denial of Plaintiffs’ fundamental right to use its hospital beds. OHA’s failures

cause civilly committed patients to stay in Plaintiffs’ hospitals after the point when they can no

longer medically benefit from emergency psychiatric care and acute behavioral care, the relevant

community hospital is required to house the individual for weeks, months, and sometimes their

entire 180-day commitment and recommitment period. As a result, community hospitals are

deprived of using their hospital beds for other patients, which negatively impacts community

hospitals’ ability to serve the community and have throughput in their emergency departments,

which are often full of patients waiting to be admitted. Because of OHA’s failure to comply with

its statutory obligations, Plaintiffs and other community hospitals must dedicate significant

resources to civilly committed patients who have no medical reason to be in acute care settings,

preventing Plaintiffs from providing emergency psychiatric and acute behavioral care to other

patients who do have a medical reason to be in acute care settings (including other civilly

committed individuals or pre-commitment individuals, to whom Plaintiffs want to provide

emergency psychiatric and acute behavioral treatment). These resources include not only the

costs associated with medicating and housing these individuals for extended periods of time, but

also damage to hospital property as well as the services of its care providers and other

precautions needed, such as security and one-on-one sitters, to ensure the safety of the individual

and others.




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         78.     OHA has known about its practices—and the resulting effects on community

hospitals—for years but has failed to meaningfully address these problems. OHA has

deliberately and indifferently avoided addressing these problems at least in part because OHA

directly benefits from its practices, and the resulting harm to community hospitals and patients,

by effectively outsourcing the civil commitment process to community hospitals and making

community hospitals bear OHA’s would-be costs, responsibilities, and liabilities.

         79.     OHA will continue engaging in its policy and practice in violation of the Due

Process Clause of the Fourteenth Amendment unless the Court enjoins such conduct. Declaratory

and injunctive relief are appropriate because Plaintiffs lack an adequate remedy at law.

         80.     Plaintiffs seek a declaration that OHA’s conduct, policy, and practice violates

community hospitals’ Fourteenth Amendment substantive and procedural due process rights.

Plaintiffs also seek a permanent injunction enjoining OHA from continuing its policy and

practice.

         81.     Plaintiffs do not seek compensatory damages for OHA’s due process violations.

Plaintiffs seek only declaratory relief, injunctive relief, and recovery of their attorneys’ fees and

costs in bringing this action.

                                           THIRD CLAIM

             Violation of Community Hospitals’ Procedural Due Process Rights Under

                  the Fourteenth Amendment to the United States Constitution

         82.     Plaintiffs reallege and incorporate by reference paragraphs 1 through 81 above.

         83.     There is no state law procedure for community hospitals to contest being forced to

house civilly committed individuals indefinitely during their 180-day commitment. Although

Oregon civil commitment procedure involves a process by which OHA or its delegee consults


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with the admitting physician of a hospital to “determine whether the best interests of a

committed person are served by an admission to [that] community hospital,” OAR 309-033-

0270(3)(a), that procedure is not being followed. Plaintiffs are not being afforded a meaningful

opportunity to be heard regarding whether a civilly committed patient should be committed to

Plaintiffs’ community hospitals for long-term treatment lasting up to 180 days. Rather, OHA is

simply leaving patients at Plaintiffs’ hospitals without any meaningful process. Nor is there a

remedy available for community hospitals to seek compensation from OHA or their contracted

Coordinated Care Organizations for most of its costs associated with OHA forcing them to house

civilly committed individuals in lieu of OHA providing placements for them at OSH or another

appropriate long-term treatment facility. OHA’s policy and practice has resulted in working

conditions for Plaintiffs’ care providers that many find intolerable. As a result, an already

difficult workforce shortage has become a crisis. The strains on Plaintiffs’ care providers and

resources are not sustainable, presenting a risk of loss of critical mental health services to

members of the community who are in crisis.

         84.   OHA will continue engaging in its policy and practice in violation of the Due

Process Clause of the Fourteenth Amendment unless the Court enjoins such conduct. Declaratory

and injunctive relief are appropriate because Plaintiffs lack an adequate remedy at law.

         85.   Plaintiffs seek a declaration that OHA’s conduct, policy, and practice violates

community hospitals’ Fourteenth Amendment substantive and procedural due process rights.

Plaintiffs also seek a permanent injunction enjoining OHA from continuing its policy and

practice.




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         86.       Plaintiffs do not seek compensatory damages for OHA’s due process violations.

Plaintiffs seek only declaratory relief, injunctive relief, and recovery of their attorneys’ fees and

costs in bringing this action.

                                            FOURTH CLAIM

                Violation of Community Hospitals’ Rights Under the Takings Clause

             of the Fifth Amendment to the United States Constitution (Physical Taking)

         87.       Plaintiffs reallege and incorporate by reference paragraphs 1 through 86 above.

         88.       The Takings Clause of the Fifth Amendment to the United States Constitution

prohibits the taking of private property for public use, without just compensation. U.S. Const.

Amend. V. The Fifth Amendment is applicable to individual states pursuant to the Fourteenth

Amendment.

         89.       The Takings Clause “was designed to bar Government from forcing some people

alone to bear public burdens which, in all fairness and justice, should be borne by the public as a

whole.” Armstrong v. United States, 364 U.S. 40, 49 (1960). The prohibition includes physical

takings in which the government physically appropriates an owner’s real and personal property.

Cedar Point Nursery v. Hassid, 141 S. Ct. 2063, 2071-72 (2021).

         90.       Pursuant to 42 U.S.C. § 1983, every person acting under color of law who

deprives another person of his or her constitutional rights is liable at law and in equity. At all

times relevant, Defendant David Baden was a person acting under color of state law who is liable

for OHA’s unconstitutional conduct, policy, and practice.

         91.       For years, OHA has engaged in conduct and a policy and practice that results in a

physical taking of Plaintiffs’ and other community hospitals’ property for public use without just

compensation. Once a general judgment of commitment is entered and individuals are civilly


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committed to the custody of OHA for up to 180 days of treatment, they are supposed to be

transferred to an appropriate long-term treatment facility. OHA is supposed to ensure they are

transferred to the facility best able to treat them or a suitable facility at the time of commitment.

Instead, however, after individuals are civilly committed—and as a result no longer represented

by counsel to protect their rights—these individuals are left indefinitely in restrictive and

confined settings in acute care hospitals, where they are forgotten by OHA.

         92.    Because civilly committed individuals who are committed to the custody of OHA

for treatment are occupying community hospital beds for weeks, months, and sometimes their

entire 180-day commitment and recommitment periods, OHA’s conduct deprives Plaintiffs and

other community hospitals of their hospital beds. It results in beds being unnecessarily occupied

by civilly committed individuals who have no medical reason to be in an acute care setting and

prevents other acute psychiatric patients in the community from accessing much needed care,

including patients who are backed up in emergency departments. Because of OHA’s actions,

community hospitals are deprived of the services of its care providers, forced to incur costs

associated with housing patients who should be elsewhere, and left with no choice but to devote

significant resources to patients who have no medical reason to be there, including medication,

food, housekeeping services, security, and one-to-one sitters 24 hours a day.

         93.    OHA and their contracted Coordinated Care Organizations do not provide

sufficient compensation to cover the costs and fair value of Plaintiffs’ property used to care for

civilly committed patients left at Plaintiffs’ hospitals.

         94.    OHA will continue engaging in its conduct, policy, and practice in violation of the

Fifth and Fourteenth Amendments unless the Court enjoins such conduct. As demonstrated by its

inaction, despite repeated pleas to OHA for help over the years, it is clear that OHA intends to


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continue using Plaintiffs’ hospitals and other community hospitals to house civilly committed

individuals indefinitely, if not permanently. Declaratory and injunctive relief are appropriate

because community hospitals lack an adequate remedy at law. Plaintiffs cannot feasibly seek

adequate and just compensation through individual legal actions for each civilly committed

patient left in Plaintiffs’ care because the expenses of pursuing so many individual legal actions

would exceed the compensation Plaintiffs seek to recover.

         95.         Plaintiffs seek a declaration that OHA’s conduct, policy, and practice violates

Plaintiffs’ and other community hospitals’ Fifth and Fourteenth Amendment rights. Plaintiffs

also seek a permanent injunction enjoining OHA from continuing its conduct, policy, and

practice.

             96.     Plaintiffs do not seek compensatory damages for OHA’s unlawful takings.

Plaintiffs seek only declaratory relief, injunctive relief, and recovery of their attorneys’ fees and

costs in bringing this action.

                                                FIFTH CLAIM

                   Violation of Community Hospitals’ Rights Under the Takings Clause

        of the Fifth Amendment to the United States Constitution (Regulatory Taking)

         97.         Plaintiffs reallege and incorporate by reference paragraphs 1 through 96 above.

         98.         The Takings Clause under the Fifth Amendment (applied to the states through

Fourteenth Amendment) extends not only to physical takings but also to regulatory interferences

which occur when a significant restriction is placed on an owner’s ability to use its own property

for which justice and fairness require that compensation be given. Cedar Point Nursery v.

Hassid, 141 S. Ct. 2063, 2071-72 (2021).




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         99.    OHA’s practices regulate Plaintiffs’ use of their consumable property such that

Plaintiffs are deprived of all economically viable use of their property. OHA’s conduct

unreasonably frustrates Plaintiffs’ investment-backed expectations in such property.

         100.   OHA’s practices also regulate Plaintiffs’ use of their beds in such a way that so

frustrates Plaintiffs’ distinct investment-backed expectations in their beds so as to constitute a

taking under the Fifth Amendment.

         101.   OHA and their contracted Coordinated Care Organizations do not provide

sufficient compensation to cover the costs and fair value of Plaintiffs’ property used to care for

civilly committed patients left at Plaintiffs’ hospitals.

         102.   OHA will continue engaging in its conduct, policy, and practice in violation of the

Fifth and Fourteenth Amendments unless the Court enjoins such conduct. As demonstrated by its

inaction, despite repeated pleas to OHA for help over the years, it is clear that OHA intends to

continue using Plaintiffs’ hospitals and other community hospitals to house civilly committed

individuals indefinitely, if not permanently. Declaratory and injunctive relief are appropriate

because community hospitals lack an adequate remedy at law. Plaintiffs cannot feasibly seek

adequate and just compensation through individual legal actions for each civilly committed

patient left in Plaintiffs’ care because the expenses of pursuing so many individual legal actions

would exceed the compensation Plaintiffs seek to recover.

         103.   Plaintiffs seek a declaration that OHA’s conduct, policy, and practice violates

Plaintiffs’ and other community hospitals’ Fifth and Fourteenth Amendment rights. Plaintiffs

also seek a permanent injunction enjoining OHA from continuing its conduct, policy, and

practice.




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             104.   Plaintiffs do not seek compensatory damages for OHA’s unlawful takings.

Plaintiffs seek only declaratory relief, injunctive relief, and recovery of their attorneys’ fees and

costs in bringing this action.

                                               SIXTH CLAIM

                Violation of Community Hospitals’ Rights under Article I, Section 18

                             of the Oregon Constitution – Unlawful Taking

         105.       Plaintiffs reallege and incorporate by reference paragraphs 1 through 104 above.

         106.       Article I, Section 18, of the Oregon Constitution provides in part that “[p]rivate

property shall not be taken for public use . . . without just compensation; nor except in the case of

the state, without such compensation first assessed and tendered.”

         107.       For years, OHA has engaged in conduct and a policy and practice that results in a

taking of Plaintiffs’ and other community hospitals’ property for public use without just

compensation. Once a general judgment of commitment is entered and individuals are civilly

committed to the custody of OHA for up to 180 days of treatment, they are supposed to be

transferred to an appropriate long-term treatment facility. OHA is supposed to ensure they are

transferred to the facility best able to treat them or a suitable facility at the time of commitment.

Instead, however, after individuals are civilly committed—and they are no longer represented by

counsel to protect their rights—these individuals are left indefinitely in restrictive and confined

settings in acute care hospitals, where they are forgotten by OHA.

         108.       Because civilly committed individuals who are committed to the custody of OHA

for treatment are occupying community hospitals’ beds for weeks, months, and sometimes their

entire 180-day commitment and recommitment period, OHA’s conduct deprives Plaintiffs and

other community hospitals of their hospital beds. It results in beds being unnecessarily occupied


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by civilly committed individuals who have no medical reason to be in acute care settings, and

prevents other acute psychiatric patients in the community from accessing much needed care,

including patients who are backed up in emergency departments. Because of OHA’s actions,

community hospitals are deprived of the services of its care providers, forced to incur costs

associated with housing patients who should be elsewhere, and left with no choice but to devote

significant resources to patients who have no medical reason to be there, including medication,

food, housekeeping services, security, and one-to-one sitters 24 hours a day.

         109.   OHA and their contracted Coordinated Care Organizations do not provide

sufficient compensation to cover the costs and fair value of Plaintiffs’ property used to care for

civilly committed patients left at Plaintiffs’ hospitals.

         110.   OHA will continue engaging in its conduct, policy, and practice unless the Court

enjoins such conduct. As demonstrated by its inaction, despite repeated pleas to OHA for help

over the years, it is clear that OHA intends to continue using community hospitals to house

civilly committed individuals indefinitely, if not permanently. Declaratory and injunctive relief

are appropriate because community hospitals lack an adequate remedy at law. Plaintiffs cannot

feasibly seek adequate and just compensation through individual legal actions for each civilly

committed patient left in Plaintiffs’ care because the expenses of pursuing so many individual

legal actions would exceed the compensation Plaintiffs seek to recover.

         111.   Plaintiffs seek a declaration that OHA’s conduct, policy, and practice violates

Plaintiffs’ and other community hospitals’ rights under Article 1, Section 18 of the Oregon

Constitution. Plaintiffs also seek a permanent injunction enjoining OHA from continuing its

conduct, policy, and practice.




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             112.   Plaintiffs do not seek compensatory damages for OHA’s unlawful takings.

Plaintiffs seek only declaratory relief, injunctive relief, and recovery of their attorneys’ fees and

costs in bringing this action.

                                            SEVENTH CLAIM

               Violation of Civilly Committed Individuals’ Rights under ORS 426.060

         113.       Plaintiffs reallege and incorporate by reference paragraphs 1 through 112 above.

         114.       OHA must direct civilly committed persons “to the facility best able to treat”

them, or delegate to a community mental health program director the responsibility for

assignment of civilly committed persons to a “suitable” facility. ORS 426.060(2)(a), (d).

         115.       OHA’s conduct, policy, and practice violates its statutory duties under

ORS 426.060 by deliberately failing to make any placement decision for civilly committed

individuals. Instead of being placed in the facility “best able to treat” them or a “suitable facility”

at the time of commitment, OHA is choosing to leave civilly committed individuals indefinitely

in acute care hospitals, and deliberately failing to make any placement decision for them as

contemplated by the statute.

         116.       OHA will continue engaging in its conduct, policy, and practice unless the Court

enjoins such conduct. As demonstrated by its inaction, despite repeated pleas to OHA for help

over the years, it is clear that OHA intends to continue using community hospitals to house

civilly committed individuals indefinitely, if not permanently. Declaratory relief is appropriate

because community hospitals lack an adequate remedy at law.

         117.       Plaintiffs seek a declaration that OHA’s conduct, policy, and practice violates




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its duties under ORS 426.060, and that OHA has a legal duty to provide civilly committed

individuals meaningful treatment during their 180-day commitment and place civilly committed

individuals in the facility best able to treat them or a suitable facility at the time of commitment.

             118.   Plaintiffs do not seek compensatory damages for OHA’s statutory violations.

Plaintiffs seek only declaratory relief, injunctive relief, and recovery of their attorneys’ fees and

costs in bringing this action.

                                             EIGHTH CLAIM

              Violation of Civilly Committed Individuals’ Rights under ORS 426.150(1)

         119.       Plaintiffs reallege and incorporate by reference paragraphs 1 through 118 above.

         120.       When an individual is civilly committed, “[OHA] or its designee shall take the

person with mental illness into its custody and ensure the safekeeping and proper care of the

person until the person is delivered to an assigned treatment facility or to a representative of the

assigned treatment facility.” ORS 426.150(1).

         121.       OHA’s conduct, policy, and practice violates its statutory duties under

ORS 426.150(1). Once individuals are civilly committed, OHA is failing to take custody of these

individuals and ensure the safekeeping and proper care of these individuals until they are

delivered to an assigned treatment facility or to a representative of the assigned treatment

facility. Instead, OHA is leaving civilly committed individuals in acute care community hospitals

where they are initially detained for emergency purposes on a notice of mental illness, and

failing to place patients after they are civilly committed.

         122.       OHA will continue engaging in its conduct, policy, and practice unless the Court

enjoins such conduct. As demonstrated by its inaction, despite repeated pleas to OHA for help

over the years, it is clear that OHA intends to continue using community hospitals to house


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civilly committed individuals indefinitely, if not permanently. Declaratory relief is appropriate

because community hospitals lack an adequate remedy at law.

         123.       Plaintiffs seek a declaration that OHA’s conduct, policy, and practice violates its

duties under ORS 426.150, and that OHA has a legal duty to take civilly committed individuals

into its custody and ensure the safekeeping and proper care of them by delivering them to an

assigned treatment facility that is best able to treat them or a suitable facility.

             124.   Plaintiffs do not seek compensatory damages for OHA’s statutory violations.

Plaintiffs seek only declaratory relief, injunctive relief, and recovery of their attorneys’ fees and

costs in bringing this action.

                                              NINTH CLAIM

  Violation of Civilly Committed Individuals’ Rights under ORS 659A.142(5)(a) and (6)(a)

         125.       Plaintiffs reallege and incorporate by reference paragraphs 1 through 124 above.

         126.       ORS 659A.142(5)(a) provides that “[i]t is an unlawful practice for state

government to exclude an individual from participation in or deny an individual the benefits of

the services, programs or activities of state government or to make any distinction,

discrimination or restriction because the individual has a disability.”

         127.       ORS 659.142(6)(a) provides that “[i]t is an unlawful practice for a provider or any

person acting on behalf of a provider to discriminate by doing any of the following based on the

patient’s race, color, national origin, sex, sexual orientation, gender identity, age or disability:

(A) Deny medical treatment to the patient that is likely to benefit the patient based on an

individualized assessment of the patient using objective medical evidence; or (B) Limit or

restrict in any manner the allocation of medical resources to the patient.”




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         128.   OHA’s conduct, policy, and practice violates its statutory duties under ORS

659A.142(5)(a) because OHA is excluding civilly committed individuals from admission to OSH

and denying them an alternative appropriate long-term placement when they are civilly

committed to the custody of OHA for 180 days of treatment.

         129.   OHA’s conduct, policy, and practice violates its statutory duties under ORS

659A.142(6)(a) because OHA is discriminating against civilly committed individuals by denying

them appropriate long-term treatment once they are civilly committed to the custody of OHA,

and limiting and restricting the allocation of resources to them.

         130.   OHA will continue engaging in its conduct, policy, and practice unless the Court

enjoins such conduct. As demonstrated by its inaction, despite repeated pleas to OHA for help

over the years, it is clear that OHA intends to continue using community hospitals to house

civilly committed individuals indefinitely, if not permanently. Declaratory and injunctive relief

are appropriate because community hospitals lack an adequate remedy at law.

         131.   Plaintiffs seek a declaration that OHA’s conduct, policy, and practice violates

Plaintiffs’ rights under ORS 659A.142(5)(a) and (6)(a). Plaintiffs also seek a permanent

injunction pursuant to ORS 659A.885(1) enjoining OHA from continuing its statutory violations

and their attorneys’ fees pursuant to ORS 659A.885(8)(d).

                                        RELIEF REQUESTED

         Plaintiffs respectfully request the following relief:

         A.     Declare that OHA’s conduct, policy, and practice regarding civilly committed

individuals violates the Fifth and Fourteenth Amendments to the United States Constitution

because:




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                      i. They force community hospitals to house and treat civilly committed

              individuals indefinitely, thus occupying and taking their property, despite the fact that

              community hospitals are not equipped, staffed, or designed to provide long-term care

              and treatment appropriate for civilly committed individuals;

                      ii. There is no state law procedure for community hospitals to contest being

              forced to house civilly committed individuals;

                      iii. They result in a taking of community hospitals’ private property for public

              use without just compensation;

                      iv. They result in a violation of civilly committed individuals’ right to receive

              appropriate treatment and, further, deny liberty interests arising from state law; and

                      v. There is no state law procedure for community hospitals to ensure that

              civilly committed individuals are placed by OHA in the facility best able to treat them

              or even a suitable facility.

         B.       Declare that OHA’s conduct, policy, and practice regarding civilly committed

individuals violates Article I, Section 18, of the Oregon Constitution because they result in a

taking of Plaintiffs’ and other community hospitals’ private property for public use without just

compensation.

         C.       Declare that OHA’s conduct, policy, and practice regarding civilly committed

individuals violates its duties under ORS 426.060, and that OHA has a legal duty to provide

civilly committed individuals meaningful treatment during their 180-day commitment and place

them in the facility best able to treat them or a suitable facility at the time of commitment.

         D.       Declare that OHA’s conduct, policy, and practice regarding civilly committed

individuals violates its duties under ORS 426.150, and that OHA has a legal duty to take civilly


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committed individuals into its custody and ensure the safekeeping and proper care of them by

delivering them to an assigned treatment facility best able to treat them or a suitable facility.

         E.      Declare that OHA’s conduct, policy, and practice regarding civilly committed

individuals violates ORS 659A.142(5) and (6).

         F.      Permanently enjoin OHA from continuing to violate civilly committed patients’

due process rights to liberty and hospitals’ due process rights to property, and from continuing to

take hospitals’ property without just compensation, and further requiring OHA to fulfill its

obligations to provide civilly committed patients the care and treatment they are entitled to by

law.

         G.      Award Plaintiffs their reasonable attorneys’ fees and costs in this action pursuant

to 42 U.S.C. § 1988(b) and ORS 659A.885(8)(d); and

         H.      Grant such further relief as justice requires.


June 26, 2023.

                                                LEWIS BRISBOIS BISGAARD & SMITH LLP



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